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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)                               1:18-cv-11642

                                 Plaintiff,                  AFFIRMATION IN SUPPORT OF
                  -against-                                  PLAINTIFF’S ORDER TO SHOW
                                                             CAUSE FOR CONTEMPT
LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI,
JIA LIAN,
XIAO YU,

                                 Defendants,
                  -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                                 Nominal Defendant.



        Robert W. Seiden, an attorney duly authorized to practice law before this Court, affirms the

following:

             1.   I am an attorney licensed in New York State and I am the Court-Appointed Receiver for

Link Motion Inc. (“LKM” or the “Company”) in this matter. A true and correct copy of the

Receivership Order is attached hereto as Exhibit A.

             2.   Since my appointment, my staff and I have undertaken numerous attempts to locate,

secure, and recover LKM’s property, assets and books and records. I have hired lawyers and other

local agents in Hong Kong and China, and sent numerous letters demanding LKM Chairman Vincent

Shi’s cooperation with this Court’s Receivership Order.

             3.   My local China agents and I have expended a great deal of effort and resources to reach

Vincent Shi (“Shi”), LKM’s current chairman and CEO, and enlist his help to understand LKM’s
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current and past financial situation, as well as identify corporate assets.       Despite this, Shi has

consistently rebuffed and obstructed my efforts.

            4.   On February 4, 2019, DLA Piper, LKM’s former U.S. counsel, informed me via a

telephonic conference that a copy of the Receivership Order had been sent to Shi via his LKM email,

which DLA Piper informed me was the main avenue of communication with Defendant Shi, and that

DLA Piper discussed the Receivership Order with Defendant Shi further by telephone.

            5.   On February 8, 2019, via email, I sent Shi a first demand letter notifying him of the

Receivership Order, and asking him to promptly fund the Receivership, comply with the Court Order,

and set up a meeting with me within 24 hours. My first demand letter to Shi is attached hereto as

Exhibit B. However, Shi has not replied to my request at all.

            6.   On February 14, 2019, via email, I sent Shi a second demand letter, again asking him to

comply with this Court’s Order. My second demand letter to Shi is attached hereto as Exhibit C. But

again, Shi failed to respond to me.

            7.   On February 26, 2019, via email, I sent Shi a third demand letter offering him a further

chance to cooperate. My third demand letter to Shi is attached hereto as Exhibit D. Shi failed to reply

as well.

            8.   Between February 6, 2019 and March 5, 2019, my local China agent made numerous

attempts to communicate with Shi via his personal phone at +86 135 0123 3445. However, Shi ignored

the calls altogether. A copy of phone record from my local China agent, with relevant parts translated

and marked, is attached hereto as Exhibit E.

            9.   Additionally, on February 8, 2019, my local China agent also sent the Receivership

Order and a copy of my first Demand Letter to Shi via WeChat (a common communication method in

China). A copy of conversation record is attached hereto as Exhibit F.
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          10. To date, Shi has ignored all the requests sent by me and my local China agent.

          11. On March 12, 2019, via its WeChat account, LKM issued a press release in an obvious

attempt to obstruct the Receivership.

          12. The press release stated, among other things, that the Company believed neither U.S.

nor Hong Kong courts had jurisdiction over LKM, that the Company has now authorized the board to

pursue action against shareholders and other responsible individuals in the U.S, and that the board of

directors is passing resolutions on behalf of the Company to actively thwart the Receiver’s efforts. A

copy of this press release and its translation is attached hereto as Exhibit G.

          13. Based on my past attempts to communicate with Shi, and now with the issuance of this

latest press release, it is clear that Shi has sufficient notice of the Receivership Order, but has no

intention to comply with the Receiver or this Court in this matter and will continue to ignore, obstruct

and disrespect the rulings of this Court.

          14. Accordingly, a contempt finding against Shi from the Court based on his refusal to

comply with the Court’s Receivership Order and the Receiver’s reasonable and repeated requests will

likely be the only possible avenue to gain Shi’s compliance.

          15. Moreover, it is my opinion that this Court should order such a contempt finding as

quickly as possible, because time is severely of the essence for Shi’s compliance with the Receivership

Order as he is now actively thwarting my and my team’s efforts inside China to ensure the status quo

of the Company, which could have lasting effects on the value of the Company, and further transfers

of assets may be underway. Furthermore, in order to combat the aggressive press release issued by

Shi, it is critical that this Court issue an order as soon as possible to let Shi and the other bad actors

know that their noncompliance with this Court’s orders will have consequences.
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          16. Based on my past experience, to maximize the likelihood of Shi’s timely compliance,

this Court should additionally issue an arrest warrant for Shi and impose upon Shi coercive civil

confinement, and direct that such order be forwarded to U.S. Customs and Border Protection,

INTERPOL, and other international and domestic policing agencies. Without such coercive measures,

it will be nearly impossible to get Shi to comply with the Receivership Order.

          17. Lastly, this Court should direct the Order to Show Cause to be served on Shi by email

and WeChat, which we know definitively are the two most effective ways to reach Shi. Shi’s LKM

email address is active and from what I learned through his former counsel, DLA Piper, he is most

accessible through his LKM email. Attached hereto as Exhibit H is an email from DLA Piper to Shi

at his LKM email address on 2/4/19, and Shi’s response back on the same day. Accordingly, serving

Shi by email and WeChat will get the Order to Show Cause to him as quickly as possible.

Dated: New York, New York
       March 14, 2019


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                                                    Robert W. Seiden, Esq.
